54 F.3d 773NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    William GREEN, Plaintiff-Appellant,v.CAPITAL RECORDS, INCORPORATED;  KLYMAXX;  ERIC BURRELL,a/k/a M.C. Hammer;  J. Gill;  K. Mattea;  Oaktown 3.5.7;Paul Overstreet;  John Doe, other unnamed and unknown R &amp;B/C &amp; W John Doe Artists;  Motown Records, Incorporated;Boys to Men;  Tobete Music;  Kenneth Edmonds, a/k/aBabyface;  Antonio a/k/a L.A.;  Reid and another badcreation;  five records, Incorporated;  Marvin Seare;Highfive, individually, and in their official capacities;Too Short;  Freddie Jackson;  Tracie Spencer, Defendants-Appellees.
    No. 94-7503.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 20, 1995.Decided:  May 19, 1995.
    
      William Green, Appellant Pro Se.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing without prejudice his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court's dismissal without prejudice is not appealable.  See Domino Sugar Corp. v. Sugar Workers' Local Union 392, 10 F.3d 1064, 1066-67 (4th Cir.1993).  A dismissal without prejudice could be final if "no amendment [to the complaint] could cure defects in the plaintiff's case" Id. at 1067.  IN ascertaining whether a dismissal without prejudice is reviewable in this Court, the Court must determine "whether the plaintiff could save his action by merely amending the complaint."  Id. at 1066-67.
    
    
      2
      Since Appellant could have amended his complaint to assert some claims, we dismiss the appeal for lack of jurisdiction because we find the order is not appealable.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    